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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

Plaintiff,

v.

ANTHONY WOMACK,

Defendant.                                                 No. 05-CR-30015-DRH

                                      ORDER

HERNDON, District Judge:

             Before the Court is Defendant Anthony Womack’s (“Defendant”) motion

for an extension of time to file objections to his Presentence Report. (Doc. 367.) The

Court GRANTS this motion. (Id.) The Court EXTENDS the time for Defendant to

file his objections until August 15, 2006.

             IT IS SO ORDERED.

             Signed this 8th day of August, 2006.

                                              /s/      David RHerndon
                                              United States District Judge
